                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


In re                                                    Chapter 11

OPEN ROAD FILMS, LLC, a Delaware                         Case No.: 18-12012 (LSS)
limited liability company, et al.,1
                                                         (Jointly Administered)
                           Debtors.
                                                         Objection Deadline: September 25, 2018 at 4:00 p.m. (ET)
                                                         Hearing Date: October 2, 2018 at 2:00 p.m. (ET)



                                           NOTICE OF MOTION

TO:     (I) THE U.S. TRUSTEE; (II) HOLDERS OF THE FORTY (40) LARGEST UNSECURED
        CLAIMS ON A CONSOLIDATED BASIS AGAINST THE DEBTORS; (III) THE
        AGENT; (IV) THE ORDINARY COURSE PROFESSIONALS LISTED ON EXHIBIT 1
        TO THE PROPOSED ORDER; AND (V) ALL PARTIES WHO HAVE FILED A
        NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS
        PURSUANT TO BANKRUPTCY RULE 2002

               PLEASE TAKE NOTICE that the above-captioned debtors and debtors in
possession (collectively, the “Debtors”) have filed the attached Debtors’ Motion for an Order
Authorizing the Debtors to Retain, Employ, and Compensate Certain Professionals Utilized By
the Debtors in the Ordinary Course of Business (the “Motion”).

                PLEASE TAKE FURTHER NOTICE that any objections to the Motion must
be filed on or before September 25, 2018 at 4:00 p.m. (ET) (the “Objection Deadline”) with the
United States Bankruptcy Court for the District of Delaware, 3rd Floor, 824 Market Street,
Wilmington, Delaware 19801. At the same time, you must serve a copy of any objection upon
the undersigned proposed counsel to the Debtors so as to be received on or before the Objection
Deadline.

            PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE
MOTION WILL BE HELD ON OCTOBER 2, 2018 AT 2:00 P.M. (ET) BEFORE THE
HONORABLE LAURIE SELBER SILVERSTEIN, IN THE UNITED STATES
BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 N. MARKET STREET,
6th FLOOR, COURTROOM NO. 2, WILMINGTON, DELAWARE 19801.



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    The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
    Open Road Films, LLC (4435-Del.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC
    (5873-Del.); Briarcliff LLC (7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions
    LLC (9375-Del.). The Debtors’ address is 2049 Century Park East, 4th Floor, Los Angeles, CA 90067.




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          PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND
IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR A HEARING.

Dated: September 11, 2018               /s/ Robert F. Poppiti, Jr.
                                Michael R. Nestor, Esq. (Bar No. 3526)
                                Robert F. Poppiti, Jr., Esq. (Bar No. 5052)
                                Ian J. Bambrick, Esq. (Bar No. 5455)
                                YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                Rodney Square
                                1000 North King Street
                                Wilmington, Delaware 19801
                                Tel: (302) 571-6600
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                                and

                                Michael L. Tuchin, Esq.
                                Jonathan M. Weiss, Esq.
                                Sasha M. Gurvitz, Esq.
                                KLEE, TUCHIN, BOGDANOFF & STERN LLP
                                1999 Avenue of the Stars, 39th Floor
                                Los Angeles, CA 90067
                                Tel: (310) 407-4000
                                Fax: (310) 407-9090

                                Proposed Counsel to Debtors and
                                Debtors in Possession




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